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   9
  10                            UNITED STATES DISTRICT COURT
  11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 VANESSA BRYANT, et al.,                        CASE NO. 2:20-cv-09582-JFW-E
  14                   Plaintiffs,                  DISCOVERY MATTER
  15              v.
                                                    STIPULATION REGARDING
  16 COUNTY OF LOS ANGELES, et al.,                 HEARING DATE FOR
  17                   Defendants.                  DEFENDANTS’ MOTION FOR
                                                    PROTECTIVE ORDER AND
  18                                                PLAINTIFFS’ MOTION TO
  19                                                COMPEL THE DEPOSITIONS OF
                                                    LOS ANGELES COUNTY SHERIFF
  20                                                ALEX VILLANUEVA AND LOS
  21                                                ANGELES COUNTY FIRE CHIEF
                                                    DARYL OSBY
  22
  23                                                Date: October 29, 2021
                                                    Time: 9:30 a.m.
  24                                                Crtrm.: 750
  25
                                                    Assigned to the Hon. John F. Walter
  26                                                and Magistrate Judge Charles F. Eick
  27
  28
       538499.1                                                      Case No. 2:20-cv-09582-JFW-E
        STIPULATION REGARDING HEARING DATE FOR DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
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                                                2                    Case No. 2:20-cv-09582-JFW-E
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   1                                          STIPULATION
   2              Plaintiffs Vanessa Bryant; Christopher L. Chester, R.C., and H.C.; Matthew
   3 Mauser, T.M., P.M., and I.M.; and Alexis and John James Altobelli (collectively,
   4 “Plaintiffs”), on the one hand, and Defendants County of Los Angeles, Los Angeles
   5 County Sheriff’s Department, Los Angeles County Fire Department, Joey Cruz,
   6 Rafael Mejia, Michal Russell, and Raul Versales (collectively, “Defendants”)
   7 (together with Plaintiffs, the “Parties”), on the other hand, by and through their
   8 respective counsel of record, hereby stipulate as follows:
   9              WHEREAS, Plaintiffs are seeking the depositions of Los Angeles County
  10 Sheriff Alex Villanueva and Los Angeles County Fire Chief Daryl Osby;
  11              WHEREAS, Defendants are moving for a protective order and Plaintiffs are
  12 moving to compel;
  13              WHEREAS, in the interest of efficiency, the Parties have addressed both
  14 motions in one joint statement;
  15              WHEREAS, the Parties filed the joint statement and supporting documents
  16 today [Dkt. 112];
  17              WHEREAS, the Parties wish to have their motions adjudicated as quickly as
  18 possible in light of the November 29, 2020 discovery cutoff;
  19              WHEREAS, to that end, the Parties have agreed to waive their rights to file
  20 supplemental briefs in support of their respective motions.
  21      IT IS HEREBY STIPULATED AND AGREED BY AND BETWEEN THE
  22         PARTIES AND THEIR RESPECTIVE ATTORNEYS AS FOLLOWS:
  23              1.    The Parties waive their rights to file supplemental briefs in support of
  24                    Defendants’ motion for protective order and Plaintiffs’ motion to
  25                    compel [Dkt. 112].
  26              2.    In light of the foregoing, the Parties respectfully request that the Court
  27                    use October 29, 2021 as the operative hearing date for Defendants’
  28                    motion for protective order and Plaintiffs’ motion to compel.
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                                                     4                   Case No. 2:20-cv-09582-JFW-E
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   1 DATED: October 15, 2021                 OFFICE OF COUNTY COUNSEL
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                                             By:       /s/ Jonathan C. McCaverty
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                                                   JONATHAN C. McCAVERTY
   5                                               Attorneys for Defendant
   6                                               LOS ANGELES COUNTY SHERIFF’S
                                                   DEPARTMENT
   7
   8 DATED: October 15, 2021                 MILLER BARONDESS, LLP
   9
  10
  11                                         By:       /s/ Jason H. Tokoro
                                                   JASON H. TOKORO
  12
                                                   Attorneys for Defendants
  13                                               COUNTY OF LOS ANGELES, LOS
                                                   ANGELES COUNTY FIRE
  14
                                                   DEPARTMENT, JOEY CRUZ, RAFAEL
  15                                               MEJIA, MICHAEL RUSSELL, RAUL
                                                   VERSALES, ARLIN KAHAN, and
  16
                                                   TONY IMBRENDA
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  18 DATED: October 15, 2021                 MUNGER, TOLLES & OLSON LLP
  19
  20
  21                                         By:       /s/ Luis Li
                                                   LUIS LI
  22                                               Attorneys for Plaintiff
  23                                               VANESSA BRYANT
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                                                5                    Case No. 2:20-cv-09582-JFW-E
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   1 DATED: October 15, 2021                 JEROME M. JACKSON LAW OFFICES
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